               Case 3:21-cr-00274-CRB Document 12 Filed 06/22/21 Page 1 of 3




 1 STEPHANIE M. HINDS (CABN 154284)
   Acting United States Attorney
 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

 4 FRANK J. RIEBLI (CABN 221152)
   Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7        FAX: (415) 436-7234
          Frank.Riebli@usdoj.gov
 8

 9 Attorneys for United States of America
10                                   UNITED STATES DISTRICT COURT
11                                NORTHERN DISTRICT OF CALIFORNIA
12                                       SAN FRANCISCO DIVISION
13 UNITED STATES OF AMERICA,                         ) Case No. 21-MJ-70157 MAG
                                                     )
14           Plaintiff,                              )
                                                     ) STIPULATION AND PROPOSED ORDER
15      v.                                           ) CONTINUING HEARING
                                                     )
16 IAN BENJAMIN ROGERS,                              )
                                                     )
17           Defendant.                              )
                                                     )
18

19           On January 26, 2021, the Court issued a criminal complaint charging Ian ROGERS with
20 possession of an unregistered destructive device, in violation of 26 U.S.C. § 5861(d). ROGERS was

21 then (and remains) in custody in Napa County facing weapons charges there. ROGERS appeared in this

22 Court by writ of habeas corpus ad prosequendum and was arraigned on the complaint on February 23,

23 2021. At that time, the parties agreed to return for a status conference on March 26, 2021. By written

24 stipulation, the parties continued that status conference to April 23, 2021, and then again to May 25,

25 2021, and then again to June 25, 2021. The parties now ask that the Court continue the status

26 conference one more time, to July 30, 2021.

27           Since the initial appearance, the government has obtained and produced a substantial amount of
28 discovery to ROGERS. In addition, on April 3, 2021, the government executed a search warrant at

     STIP. TO CONTINUE HRG                           1
     21-MJ-70157 MAG
              Case 3:21-cr-00274-CRB Document 12 Filed 06/22/21 Page 2 of 3




 1 ROGERS’s former business in Napa, and seized additional evidence. The government is still processing

 2 that evidence and will produce it to ROGERS as soon as possible.

 3          The parties hereby request that the Court continue the status hearing to July 30, 2021. The

 4 continuance will allow the government the time needed to produce the additional discovery to ROGERS

 5 and enable both parties to be in a better position to discuss both the pending charge and potential future

 6 charges. In addition, it will allow the parties the ability to coordinate with counsel in the parallel state

 7 proceeding. ROGERS remains in custody on state charges.

 8          For these reasons, the parties agree that it is appropriate to exclude time under Rule 5.1 and 18

 9 U.S.C. § 3161(b) in order to allow for the effective preparation of counsel.
10 IT IS SO STIPULATED.

11 DATED: June 22, 2021                                           Respectfully submitted,
12                                                                STEPHANIE M. HINDS
                                                                  Acting United States Attorney
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                                                                  _______/s/_________________
14                                                                FRANK J. RIEBLI
                                                                  Assistant United States Attorney
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                                                                  ___/s/ Frank Riebli w/ permission___
18                                                                COLIN COOPER
                                                                  Attorney for Ian Rogers
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     STIP. TO CONTINUE HRG                            2
     21-MJ-70157 MAG
              Case 3:21-cr-00274-CRB Document 12 Filed 06/22/21 Page 3 of 3




 1                                          [PROPOSED] ORDER

 2          For the reasons set forth above, the Court hereby continues the status hearing in the above-

 3 captioned matter from June 25, 2021 to July 30, 2021 at 10:30 a.m. Further, to allow for the continued

 4 production of discovery and the effective preparation of counsel, the Court finds that the ends of justice

 5 served by granting the continuance outweigh the interests of the public and the defendant, and thus the

 6 Court excludes that period of time from the running of the speedy trial clock under Rule 5.1 and 18

 7 U.S.C. § 3161(b). The Court further orders the U.S. Marshal and the Director of Corrections of the

 8 Napa County Department of Corrections to produce Ian Rogers for the hearing on July 30, 2021, as

 9 provided in the writ issued on February 18, 2021 in this matter.
10 IT IS SO ORDERED.

11
     DATED: June _____, 2021                                    _________________________________
12                                                              HON. LAUREL BEELER
                                                                United States Magistrate Judge
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     STIP. TO CONTINUE HRG                           3
     21-MJ-70157 MAG
